         Case 1:19-cv-07275-TAM Document 115 Filed 07/24/24 Page 1 of 1 PageID #: 3913




450 Seventh Ave                                                                                 July 24, 2024
Suite 1408
New York, NY 10123          VIA ECF
                            The Honorable Judge Merkl
                            United States District Court
                            Eastern District of New York
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Licensed in NY & NJ
                                    Re:     Windward Bora, LLC v. Stuyvesant Construction Corp. et al
                                            Docket No. 19-CV-7275 (DLI) (CLP)

                            Dear Honorable Judge Merkl:

                            My Office represents Plaintiff in the above referenced matter. This letter is filed to
                            request an adjournment of the August 6, 2024, trial. For reasons I’d rather not put in a
                            public filing, I reached out to Defendant’s counsel to seek consent, and he consented
                            to an adjournment of the trial. The parties are requesting a September date for the trial
                            if that is suitable for the court.

                                    Thank you for your time and attention to this matter.

                                                                                    Respectfully submitted,

                                                                                    /s/Rafi Hasbani
                                                                                    Rafi Hasbani, Esq.

                            Via ECF
                            Daniel Richland <drichland@rflegal.net>
